Case 0:10-cv-61307-MGC Document 4 Entered on FLSD Docket 08/06/2010 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


 THOMAS GRANINO

                      Plaintiff,
                                                             Case No. 0:10-cv-61307-MGC
 v.

 NCO FINANCIAL SYSTEMS, INC.,

                      Defendant.
                                            /

                                   NOTICE OF PENDING SETTLEMENT

        Defendant, NCO Financial Systems, Inc. (“NCO”), by and through its undersigned

 counsel, hereby submits this Notice of Pending Settlement and states that the parties have

 reached a verbal settlement with regard to this case and are presently drafting, finalizing,

 and executing the settlement and dismissal documents. Upon execution of the same, the

 parties will file the appropriate dismissal documents with the Court.

                                                Respectfully submitted,

                                                /s/Kenneth C. Grace
                                                Kenneth C. Grace, Esq.
                                                Florida Bar No.: 0658464
                                                Sessions, Fishman, Nathan & Israel, L.L.C.
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                                                kgrace@sessions-law.biz
                                                Counsel for Defendant,
                                                NCO Financial Systems, Inc.
Case 0:10-cv-61307-MGC Document 4 Entered on FLSD Docket 08/06/2010 Page 2 of 2




                                                 CERTIFICATE OF SERVICE

           I hereby certify that on the 6th day of August 2010 a copy of the foregoing was

 served electronically via CM/ECF on the following:

                                                Card & Glenn, P. A.
                                                 Andrew I. Glenn
                                          2501 Hollywood Blvd., Suite 100
                                               Hollywood, FL 33020


                                                             /s/Kenneth C. Grace
                                                             Attorney




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